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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

                      Plaintiff,

              v.                                                 Case No. 21-cr-28

JAMES BEEKS,

                      Defendant.


                    UNOPPOSED MOTION FOR EXTENSION OF TIME
                   TO FILE PRETRIAL MOTIONS AS TO JAMES BEEKS

       On January 24, 2022, the Court entered a briefing schedule in this matter for the

filing of any motion for a bill of particulars or motions under Rule 12 as to James Beeks.

See Order, ECF No. 593. Those motions are due Friday, March 4, 2022.

       The defense respectfully requests a one-week extension of that deadline.

Competing professional obligations, including two oral arguments before the Seventh

Circuit (United States v. Kawleski, No. 21-1279; United States v. Olson, No. 21-2128), delayed

the drafting of Mr. Beeks’s pretrial motions. A one-week extension will allow the defense

to file a better quality work product for our client and this Court. In addition, there is no

risk that the change in schedule will prejudice the Government or delay proceedings in

this case, as the Government’s discovery productions remain ongoing, no trial date has

been set, and the earliest trial date available is in late November. See Govt.’s Status Rpt.,

ECF No. 620; Minute Order (Feb. 19, 2022).



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      If the Court grants this motion, then the defense requests that the previously

entered briefing schedule be shifted by one week, with new deadlines as follows:

             Defense motions: Friday, March 11, 2022

             Government responses: Friday, April 1, 2022

             Defense replies, if any: Monday, April 11, 2022

      The parties have conferred, and the Government does not oppose this motion.

      Dated at Madison, Wisconsin, this 2nd day of March, 2022.

                                  Respectfully submitted,

                                  /s/ Jessica Arden Ettinger
                                  Jessica Arden Ettinger (D.D.C. Bar No. D00483)
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                                  Counsel for James Beeks




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                              CERTIFICATE OF SERVICE

       On this 2nd day of March 2022, I filed the foregoing document electronically with

the Clerk of the Court for the United States District Court for the District of Columbia by

using the Court’s CM/ECF system, which will provide electronic service on all counsel

of record.


                                          /s/ Jessica Arden Ettinger
                                          Jessica Arden Ettinger




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                                                                          OF WISCONSIN, INC.
